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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                            )                      Case No. 6:18-bk-6821-KJ
                                  )
DON KARL JURAVIN,                 )                      Chapter 11
                                  )
      Debtor.                     )
_________________________________ )

                 OBJECTION TO CLAIM NO. 6-2 OF BELLA COLLINA
                     PROPERTY OWNER’S ASSOCIATION, INC.

                            NOTICE OF OPPORTUNITY TO
                         OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
 without further notice or hearing unless a party in interest files a response within thirty
 (30) days from the date set forth on the attached proof of service, plus an additional three
 days for service if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk
 of the Court at 400 W. Washington Street, Suite 5100, Orlando, Florida 32801 and serve
 a copy on the movant’s attorney, Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC,
 1030 N. Orange Avenue, Suite 300, Orlando, Florida 32801, and any other appropriate
 persons within the time allowed. If you file and serve a response within the time
 permitted, the Court will either schedule and notify you of a hearing or consider the
 response and grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you
 do not oppose the relief requested in the paper, will proceed to consider the paper without
 further notice or hearing, and may grant the relief requested.

         The Debtor, Don Karl Juravin, by and through undersigned counsel, hereby files

this Objection to Claim Number 6-2 of Bella Collina Property Owner’s Association, Inc.,

and in support thereof further states as follows:

         1.      The Debtor filed a voluntary petition for relief under Chapter 7 of the
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Bankruptcy Code on October 31, 2018 (the “Petition Date”). On September 16, 2019, this

case was converted to Chapter 11 (the “Conversion Date”).

       2.      On April 26, 2019, Bella Collina Property Owner’s Association, Inc.

(hereinafter “Bella Collina”) filed Proof of Claim 6-1, alleging a secured claim against the

Debtor in the amount of $141,324.31.

       3.      On Feburary 14, 2020, Bella Collina filed amended Proof of Claim 6-2,

alleging a total claim of $401,111.70, of which $9,704.84 is secured and $391,406.86 is

unsecured (the “Amended Claim”).

                                Secured Portion of Claim

       4.      The secured portion of Bella Collina’s Amended Claim is based, in part, on

a Claim of Lien for alleged unpaid country club dues, including late fees and interest, in

the amount of $9,704.84 (the “Lien”).

       5.      The Amended Claim alleges that the Debtor was delinquent on his country

club dues for the period of January 31, 2016 through June 30, 2018.

       6.      The Debtor was current on his country club dues through April 30, 2017,

despite the fact that his membership was suspended on March 17, 2017 due to reasons

unrelated to payment. A copy of the April 2017 Invoice is attached hereto as Exhibit “A.”

       7.      From March 17, 2017, through the date of this Objection, the Debtor’s

membership to the country club has never been restored.

                                    Sanctions Award

       8.      In its Amended Claim, Bella Collina states that it was awarded sanctions in

the amount of $248,000, plus attorney’s fees in the amount of $19,809.50 (for a total of

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$267,809.50), in a State Court action in Lake County, Florida.

       9.       The sanctions award was issued in the case of DCS Real Estate Investments

LLC, The Club at Bella Collina LLC, and Randall F. Greene v. Don K. Juravin, Case No.

2017-CA-0667, in the Circuit Court in and for Lake County, Florida (the “Sanctions

Action”). A copy of the sanctions award was attached to the Amended Claim.

       10.      Bella Collina Property Owner’s Association, Inc. was not a party to the

Sanctions Action and no award was issued in favor of Bella Collina Property Owner’s

Association, Inc.

       11.      Accordingly, the Sanctions Award does not give rise to a claim by Bella

Collina against the debtor or the bankruptcy estate.

                         Remainder of General Unsecured Claim

       12.      According to the Amended Claim, the remainder of the general unsecured

claim of Bella Collina, in the amount of $123,597.36, is made up of attorney’s fees and

costs in litigating several different pieces of litigation.

       13.      First, the Amended Claim estimates additional attorney’s fees and costs in

the amount of $20,232.00 for post-petition litigation of the Sanctions Action.           As

established above, Bella Collina was not a party of the Sanctions Action, there was no

award in favor of Bella Collina in the Sanctions Action and, therefore, Bella Collina cannot

have a claim against the debtor or the estate arising out of the Sanctions Action.

       14.      Second, the Amended Claim estimates attorney’s fees and costs in the

amount of $71,615.36 for “other POA enforcement actions against Debtor.” The Amended

Claim does not identify, by either case name or number, the “other” enforcement actions

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upon which it relies in making this estimated claim. Absent identifying factors about the

“other” enforcement actions, the Debtor is unable to evaluate the entitlement, much less

reasonableness, of the attorney’s fees and costs claimed.

       15.      Last, the Amended Claim estimates entitlement to $31,750.00 in estimated

attorney’s fees and costs for enforcement of the Lien.

       16.      Bella Collina filed an action in the Lake County Small Claims Court on

November 20, 2017 to enforce the Lien that they have attached to their proof of claim,

Case No. 2017-SC-004004 (the “Enforcement Action”).

       17.      The Enforcement action was not intensely litigated and was stayed on

October 31, 2018 due to the Debtor’s bankruptcy filing. A copy of the docket in the

Enforcement Action is attached hereto as Exhibit “B.”

       18.      The Enforcement Action never reached trial, no judgment or final order was

entered in favor of Bella Collina, and, thus, no order on entitlement or amount attorney’s

fees and costs was ever entered, since no determination of a prevailing party was made.

       19.      The attorney’s fees and costs being claimed by Bella Collina in connection

with the Enforcement Action are grossly exaggerated and are far from reasonable or

necessary in connection with the work performed in the Enforcement Action.

       WHEREFORE, the Debtor, Don Karl Juravin, respectfully request this Honorable

Court enter an Order: (a) sustaining this Objection to Claim No. 6-2 of Bella Collina

Property Owner’s Association, Inc.; (b) disallowing and/or striking Claim No. 6-2 of Bella

Collina Property Owner’s Association, Inc. and (c) granting any such further relief that this

Court deems just and proper under the circumstances.

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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served in

accordance with F.R.B.P. 7004, on all parties listed on the attached Service List, this 23rd

day of February, 2020.

                                          ___/s/ Aldo G. Bartolone, Jr._____
                                          ALDO G. BARTOLONE, JR.
                                          Florida Bar No. 173134
                                          BARTOLONE LAW, PLLC
                                          1030 N. Orange Ave., Suite 300
                                          Orlando, Florida 32801
                                          Telephone: (407) 294-4440
                                          Facsimile: (407) 287-5544
                                          E-mail: aldo@bartolonelaw.com
                                          Attorney for Debtor




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                                      SERVICE LIST


Bella Collina Property Owner’s Association, Inc.
Attn: Randall Greene, President
8390 Championsgate Blvd.
Suite 304
Championsgate, FL 33896

William C. Matthews, Esq.
Shutts & Bowen LLP
300 S. Orange Ave., Suite 1600
Orlando, FL 32801

Miriam G. Suarez, Esq.
Trial Attorney
Office of the United States Trustee
400 W. Washington Street
Suite 1100
Orlando, FL 32801

Don Karl Juravin
15118 Pendio Drive
Montverde, FL 34756




                                           6
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           EXHIBIT “A”




                         BARTOLONE LAW, PLLC
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            Mr. Don Juravin                                                                 BC0003046A         04/30/2017
            15118 Pendio Drive                                                               MEMBER               DATE
            Montverde, FL 34756
                                                                                                                         428.00
                                                                                                       AMOUNT $___________________


 >                                                                                                                                   <
                                             PLEASE DETACH AND RETURN TOP PORTION WITH PAYMENT

     DATE        REF.NO                   DESCRIPTION                                                                 TOTAL

                    Balance Forward                                                                                       511.97
 04/17/2017 10735493Credit Card Payment                                                                                  -511.97

 04/30/2017                    May 2017 Dues                                                                              428.00

                                   Community: Taormina
                                   Homesite/Lot#: 270

                                   Summary of Charges for BC0003046A: Don Juravin


               ________________________________________________________________________
               NOTE: Effective 01/01/2017 The Club at Bella Collina will begin
               charging a monthly late payment fee of 1.5% on past due balances




                                                                                                                          428.00



     BC0003046A                $    428.00         $         0.00          $         0.00       $         0.00       $     428.00

     MEMBER               CURRENT BAL.            30 DAYS BAL.        60 DAYS BAL.              90 DAYS BAL.        BALANCE

The Balance shown above will be automatically charged to the credit card
provided on your Membership Agreement. For questions regarding this
Statement or to change your credit card information, please notify
the Accounting Department at (407)469-4912 or at
opiotrowski@bellacollina.com
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           EXHIBIT “B”




                         BARTOLONE LAW, PLLC
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 Case Details: 35-2017-SC-004004-AXXX-XX
Case #: 35-2017-SC-004004-AXXX-XX                                          File Date: 11/20/2017


Party Name/Company: BELLA COLLINA PROPERTY OWNERS                          Court Type: SC
ASSOCIATION INC,


Name Suffix:                                                               Case Type: SMALL CLAIMS: $2,500.01 - $5,000.00


DOB:                                                                       Case Status: OPEN


Party Type: Plaintiff                                                      Restitution Balance: $0.00


Offense Date:



 Court Events

 Date                   Event Type                            Location      Room                          Notes

 10/18/2018 10:00 AM    MH - MOTION HEARING (SC/CC)           TAVARES       TTN                           M/LEAVE TO FILE 2ND AMENDED
                                                                                                          COMPLAINT

 06/19/2018 08:30 AM    CANCELLED - TRL - TRIAL (SC/CC)       TAVARES       TTN                           HALF DAY BENCH TRIAL STARTING AT
                                                                                                          **8:30AM**

 05/07/2018 02:00 PM    PT - PRE TRIAL CONFERENCE             TAVARES       TTN
                        (SC/CC)

 02/08/2018 02:00 PM    PT - PRE TRIAL CONFERENCE             TAVARES       TTN
                        (SC/CC)

 01/10/2018 10:30 AM    JCW - MEDIATION (SC/CC)               CMS           3RD FLOOR OF THE NORTH
                                                                            WING


 Parties


   Judge: NEAL, TERRY T


                                                                         Date of
 Full Name                                Party Type    Sex     Race     Birth       AKAs          Deceased       Sheriffs #   Hair   Eyes

 BELLA COLLINA PROPERTY                   Plaintiff
 OWNERS ASSOCIATION INC              ()

 JURAVIN, DON K                      () Defendant       M

 JURAVIN, ANNA                       () Defendant       F

 JURAVIN, DON K                      () Third Party
                                        Pltf

 JURAVIN, ANNA                       () Third Party
                                        Pltf

 CLUB AT BELLA COLLINA LLC                Third Party
                                          Deft

 PSR DEVELOPERS LLLP                      Defendant

 UNITED STATES OF AMERICA                 Defendant
 DEPARTMENT OF THE TREASURY


 Charges
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          Statute                                Disposition     Offense                    Sentence       Citation   Offense             Plea
Count     #          Description   Disposition   Date            Date         Sentence      Status         #          Level       Plea    Date

                                                          No data available in table


Dockets

            Docket    Effective
            #         Date         Count    Description                    Text                                                 Book     Page

    ()     1         11/20/2017   0        STATEMENT OF CLAIM             /COMPLAINT

    ()     2         11/20/2017   0        SUMMONS TO BE ISSUED BY
                                            CLERK

    ()     3         11/20/2017   0        SUMMONS TO BE ISSUED BY
                                            CLERK

    ()     4         11/21/2017   0        PAID $320.00 ON RECEIPT        $320.00 2303721 Fully Paid
                                            2303721, FULLY PAID

    ()     5         11/21/2017   0        DESIGNATION OF          OF PLTF
                                            ELECTRONIC MAIL ADDRESS

            6         11/22/2017   0        SET ON JCW - MEDIATION         JCW - MEDIATION (SC/CC) 01/10/2018 10:30 AM
                                            (SC/CC) DOCKET 01/10/2018      MEDIATOR (SMALL CLAIMS),
                                            BEGINNING AT 10:30 AM
                                            MEDIATOR (SMALL CLAIMS),

    ()     7         11/22/2017   0        SUMMONS ISSUED TO              JURAVIN, ANNA
                                            JURAVIN, ANNA

    ()     8         11/22/2017   0        SUMMONS ISSUED TO              JURAVIN, DON K
                                            JURAVIN, DON K

    ()     9         12/11/2017   0        SUMMONS RETURNED               JURAVIN, ANNA 12/04/2017
                                            SERVED AS TO JURAVIN,
                                            ANNA / 12/04/2017

    ()     10        12/11/2017   0        SUMMONS RETURNED               JURAVIN, DON K 12/04/2017
                                            SERVED AS TO JURAVIN,
                                            DON K / 12/04/2017

    ()     11        01/05/2018   0        NOTICE OF APPEARANCE           ANDREW C HILL ESQ ON BEHALF OF
                                            AND DESIGNATION OF E-          DEFENDANT(S)
                                            MAIL ADDRESS

    ()     12        01/09/2018   0        MOTION TO DISMISS              DEFENDANTS MOTION TO DISMISS STATEMENT OF
                                                                           CLAIM

    ()     13        01/10/2018   0        NOTICE                         OF CURRENT CONTACT INFO FOR DEFTS'
                                                                           COUNSEL

    ()     14        01/10/2018   0        OUTCOME OF MEDIATION
                                            CONFERENCE

    ()     15        01/10/2018   0        (MEDIATION)                    ATTY RYAN PRES FOR PLTF / ATTY HALL PRES
                                                                           FOR DEFTS TRIAL TO BE SET

            16        01/16/2018   0        SET ON PT - PRE TRIAL          PT - PRE TRIAL CONFERENCE (SC/CC) 02/08/2018
                                            CONFERENCE (SC/CC)             2:00 PM
                                            DOCKET 02/08/2018
                                            BEGINNING AT 2:00 PM

    ()     17        01/16/2018   0        NOTICE OF HEARING              FOR 02/08/18 @ 2PM (PTC)

    ()     18        01/24/2018   0        NOTICE OF APPEARANCE           PLTF VIA COURT CALL ON 020818
                                            OF

    ()     19        01/24/2018   0        NOTICE OF HEARING              SET FOR FEBRUARY 8 2018 AT 2:00 PM
                                                                           REGARDING DEFENDANTS MOTION TO DISMISS
                                                                           STATEMENT OF CLAIM
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       Docket   Effective
       #        Date         Count   Description                  Text                                             Book   Page

 ()   20       02/06/2018   0       NOTICE OF WITHDRAWAL         DEFENDANT'S MOTION TO DISMISS STATEMENT OF
                                     OF                           CLAIM

 ()   21       02/08/2018   0       (PTC)                        ATTY JAMES D RYAN PRESENT (CC) FOR PLAINTIFF
                                                                  / ATTY ANDREW HILL PRESENT FOR DEFENDANTS /
                                                                  PTC IS CONTINUED FOR 60 DAYS TO ALLOW
                                                                  DEFENDANT TO DO DISCOVERY / IF NOT
                                                                  COMPLETED WITHIN THE 60 DAYS, CASE WILL GET
                                                                  SET FOR TRIAL // ATTY RYAN TO PREPARE ORDER

 ()   22       02/15/2018   0       NOTICE OF TAKING
                                     DEPOSITION

 ()   23       02/20/2018   0       COVER LETTER DATED           02/14/18 SUBMITTING A PROPOSED ORDER AS TO
                                                                  THE 02/08/18 HEARING

 ()   24       02/26/2018   0       NOTICE OF TAKING
                                     DEPOSITION

 ()   25       02/26/2018   0       ORDER                        TO COMPLETE DISCOVERY IN SIXTY (60) DAYS

 ()   26       04/13/2018   0       REQUEST FOR                  FILED BY DEFENDANT
                                     PRODUCTION

 ()   27       04/13/2018   0       REQUEST FOR ADMISSIONS       FILED BY DEFENDANT

 ()   28       04/13/2018   0       NOTICE OF SERVICE OF         FILED BY DEFENDANT
                                     INTERROGATORIES

 ()   29       04/13/2018   0       INTERROGATORIES              FILED BY DEFENDANT

 ()   30       04/17/2018   0       NOTICE OF HEARING            PRE TRIAL CONFERENCE SET FOR MAY 7 2018 AT
                                                                  2:00 PM

       31       04/17/2018   0       SET ON PT - PRE TRIAL        PT - PRE TRIAL CONFERENCE (SC/CC) 05/07/2018
                                     CONFERENCE (SC/CC)           2:00 PM
                                     DOCKET 05/07/2018
                                     BEGINNING AT 2:00 PM

 ()   32       05/04/2018   0       NOTICE OF APPEARANCE         JAMES D RYAN ESQ VIA COURT CALL ON BEHALF
                                     OF                           OF PLAINTIFF

 ()   33       05/07/2018   0       (PTC)                        ATTY JAMES RYAN PRESENT (CC) FOR PLAINTIFF /
                                                                  ATTY ANDREW HILL PRESENT FOR DEFENDANTS /
                                                                  COURT: TRIAL TO SET FOR 06/19/18 @ 8:30AM (1/2
                                                                  DAY) / EXCHANGE LIST BY 05/31/18 / DISCOVERY
                                                                  CUT-OFF BY 06/14/18 // JUDGE WILL PREPARE THE
                                                                  TRIAL ORDER

       34       05/07/2018   0       SET ON TRL - TRIAL (SC/CC)   TRL - TRIAL (SC/CC) 06/19/2018 8:30 AM
                                     DOCKET 06/19/2018
                                     BEGINNING AT 8:30 AM

 ()   35       05/10/2018   0       ORDER                        ON PRE-TRIAL CONFERENCE AND SETTING CASE
                                                                  FOR NON JURY TRIAL ON 061918 @ 8:30AM

 ()   36       05/14/2018   0       MOTION                       FOR EXTENSION OF TIME TO RESPOND TO
                                                                  DISCOVERY / FILED BY PLTF

 ()   37       05/16/2018   0       MOTION                       BY PLTF FOR ORDER ABATING PROCEEDING

 ()   38       05/18/2018   0       NOTICE OF SERVICE OF         FILED BY PLAINTIFF
                                     ANSWERS TO
                                     INTERROGATORIES

 ()   39       05/18/2018   0       RESPONSE TO REQUEST          FILED BY PLAINTIFF
                                     FOR ADMISSIONS

 ()   40       05/18/2018   0       RESPONSE TO REQUEST TO FILED BY PLAINTIFF
                                     PRODUCE

 ()   41       05/18/2018   0       EXHIBIT LIST                 OF PLTF
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 ()   42       05/18/2018   0       WITNESS LIST              OF PLTF

 ()   43       05/25/2018   0       NOTICE OF TAKING
                                     DEPOSITION

 ()   44       05/30/2018   0       NOTICE OF CANCELLATION    OF VIDEO DEPO

 ()   45       06/07/2018   0       COVER LETTER DATED        06/04/18 SUBMITTING A PROPOSED AGREED
                                                               ORDER TO ABATE

 ()   46       06/13/2018   0       CASE INFORMATION SHEET    DATED 06/12/18 /// CLERK COPIED TO PLTF'S
                                     FROM JUDGE'S OFFICE       ATTORNEY WITH THE PROPOSED AGREED ORDER

 ()   47       06/13/2018   0       MOTION                    FOR ORDER STAYING CASE

 ()   48       06/14/2018   0       NOTICE OF CANCELLATION    OF THE 06/19/2018 TRIAL

       49       06/15/2018   0       Cancelled TRL - TRIAL
                                     (SC/CC) on 06/19/2018
                                     8:30:00 AM due to

 ()   50       06/18/2018   0       COVER LETTER DATED        061318 FILING PROPOSED ORDER

 ()   51       06/26/2018   0       ORDER                     ON PLTF'S MOTION FOR ORDER STAYING CASE

 ()   52       08/24/2018   0       AMENDED COMPLAINT         FOR DAMAGES AND FORECLOSURE (ATTACHED
                                                               EXHIBITS A,B,C & D)

 ()   53       09/04/2018   0       MOTION                    FOR LEAVE TO FILE SECOND AMENDED
                                                               COMPLAINT // COPY ATTACHED

       54       09/20/2018   0       SET ON MH - MOTION        MH - MOTION HEARING (SC/CC) 10/18/2018 10:00
                                     HEARING (SC/CC) DOCKET    AM
                                     10/18/2018 BEGINNING AT
                                     10:00 AM

 ()   55       09/20/2018   0       NOTICE OF HEARING         SET FOR 101818 @ 10:00AM ON PLTF'S MOTION
                                                               FOR LEAVE TO FILE SECOND AMENDED
                                                               COMPLAINT

 ()   56       10/18/2018   0       (MH)                      PLAINTIFF PRESENT// DEFENDANT
                                                               PRESENT//MOTION GRANTED// ORDER SIGNED BY
                                                               JUDGE

 ()   57       10/18/2018   0       ORDER                     ON PLTF'S MOTION FOR LEAVE TO FILE SECOND
                                                               AMENDED COMPLAINT / DEFT HAS 20 DAYS TO
                                                               FILE RESPONSE

 ()   58       10/29/2018   0       NOTICE OF APPEARANCE      APRIL S GOODWIN ESQ AS CO-COUNSEL ON
                                     AND DESIGNATION OF E-     BEHALF OF DEFENDANTS
                                     MAIL ADDRESS

 ()   59       10/29/2018   0       ANSWER AND AFFIRMATIVE    JURAVIN, DON K,JURAVIN, ANNA
                                     DEFENSES FILED BY
                                     JURAVIN, DON K,JURAVIN,
                                     ANNA

 ()   60       10/30/2018   0       SUMMONS TO BE ISSUED BY
                                     CLERK

 ()   61       10/30/2018   0       PAID $305.00 ON RECEIPT   $305.00 2399601 Fully Paid
                                     2399601, FULLY PAID

 ()   62       10/30/2018   0       SUMMONS ISSUED TO CLUB    CLUB AT BELLA COLLINA LLC,
                                     AT BELLA COLLINA LLC,

 ()   63       11/08/2018   0       SUGGESTION OF             AS TO DON KARL JURAVIN // MIDDLE DISTRICT    5196     1354
                                     BANKRUPTCY AS TO          CASE 6:18-BK-06821 CCJ DATED OCTOBER 31 2018

 ()   64       01/23/2019   0       MOTION                    TO EXTEND TIME FOR SERVICE OF PROCESS

 ()   65       01/28/2019   0       COVER LETTER DATED        01/23/19 SUBMITTING A PROPOSED ORDER TO EXT
                                                               TIME FOR SERVICE
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              #            Date            Count        Description                        Text                                                            Book         Page

    ()       66           02/04/2019      0            ORDER                              ON PLAINTIFFS EX PARTE MOTION TO EXTEND
                                                                                           TIME FOR SERVICE OF PROCESS // GRANTED //
                                                                                           EXTENDED TO (60) DAYS AFTER BANKRUPTCY
                                                                                           STAY IS NO LONGER IN EFFECT, OR (6) MONTHS
                                                                                           FROM DATE OF THIS ORDER

    ()       67           08/06/2019      0            NOTICE OF FAILURE TO
                                                        PROSECUTE SC

    ()       68           08/13/2019      0            SHOWING OF GOOD CAUSE              FILED BY PLAINTIFF

    ()       69           08/13/2019      0            REQUEST                            TO PRODUCE // FILED BY PLAINTIFF

    ()       70           08/20/2019      0            MAIL RETURNED - COPY OF            JURAVIN, DON K,JURAVIN, ANNA
                                                        (NFP NOTICE) RETURNED
                                                        UNDELIVERABLE AS TO
                                                        JURAVIN, DON K,JURAVIN,
                                                        ANNA


Linked Cases

Case Number                                    Case Description                                      Offense Date                                  Status

                                                                        No data available in table


Sentences

Date          Count              Sentence                 Confinement                    Term              Credit Time            Conditions                   Status

                                                                        No data available in table


Arrests & Bonds

 Arrest Information:


Arrest Date                     Arresting Agency                          Agency Number                           Booking #                      Incident #

                                                                        No data available in table


 Bond Information:


Bond                                                                      Surety            Closed                          Forfeiture          Effective
#           Type       Count       Bondsman             Depositor         Company           Date             Amount         Date                Date                Status

                                                                        No data available in table


Fees

 Fee Information: Total Balance + Interest: $0.00
 (The fees listed below do not necessarily reflect all outstanding fees on the case. For complete balance information , please contact the Clerk 's office.)



Effective                                                        Amount           Amount                           In                   In                  Judgment
Date               Due Date       Description                    Due              Paid             Balance         Collections          Judgment            Interest

11/21/2017         11/21/2017     Lake - County Civil Claim > $300.00             $300.00          $0.00                                                    $0.00
                                  $2500

11/21/2017         11/21/2017     Lake - County Civil            $10.00           $10.00           $0.00                                                    $0.00
                                  Summons Fee


                                                                 $625.00          $625.00          $0.00                                                    $0.00
                    Case 6:18-bk-06821-KSJ                     Doc 281        Filed 02/23/20      Page 15 of 15
Effective                                             Amount        Amount                   In                 In           Judgment
Date         Due Date        Description              Due           Paid           Balance   Collections        Judgment     Interest

11/21/2017   11/21/2017      Lake - County Civil      $10.00        $10.00         $0.00                                     $0.00
                             Summons Fee

10/30/2018   10/30/2018      Lake - County Civil      $295.00       $295.00        $0.00                                     $0.00
                             Counter Petition Cross
                             Claim > $2500

10/30/2018   10/30/2018      Lake - County Civil      $10.00        $10.00         $0.00                                     $0.00
                             Summons Fee

                                                      $625.00       $625.00        $0.00                                     $0.00


 Payment Plan Information:


Plan #            Scheduled Pay Amount                                   Balance Due                       Partial Payment

                                                           No data available in table
